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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK



  NORTH AMERICAN SOCCER LEAGUE, LLC,


                               Plaintiff,
                                                      Case No. 1:17-cv-05495-HG
                        v.

  UNITED STATES SOCCER FEDERATION, INC., and
  MAJOR LEAGUE SOCCER, L.L.C.


                               Defendants.




       PLAINTIFF NORTH AMERICAN SOCCER LEAGUE’S OPPOSITION TO
                  DEFENDANTS’ JOINT RULE 50(a) MOTION
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                                   PRELIMINARY STATEMENT

          Defendants’ Rule 50 Motion should be denied. The Court rejected these same arguments

  in deciding Defendants’ summary judgment and Daubert motions. See generally ECF No. 399

  (“SJ Order”). On summary judgment, NASL already made a sufficient showing on the elements

  of its claims to establish triable issues of fact, and the addition of trial testimony to the record only

  bolsters that showing. Because the “arguments that undergird Defendants’ 50(a) motion are nearly

  identical to those that Defendants unsuccessfully raised at summary judgment, the law of the case

  doctrine counsels . . . against revisiting [the] prior rulings[.]” See Martinez v. City of N.Y., 2023

  WL 4627739, at *8 (E.D.N.Y. July 19, 2023).

          Concerted Action: On summary judgment with respect to NASL’s remaining Section 1

  claim (Count II), the Court found “an issue of material fact on the element of concerted action”

  based on a wealth of evidence, including that (i) “MLS and U.S. Soccer agreed to grant MLS

  waivers from complying with the D1 Standards from 1997 to 2009” (SJ Order at 23); (ii) “prior to

  the 2018 season, USL (again, the D2 analogue to MLS) was awarded a sanction despite needing

  21 waivers from the D2 Standards” while “NASL was rejected that year, despite only needing two

  waivers” (id. at 47 n. 9); (iii) “[Sunil] Gulati and MLS Commissioner Garber repeatedly

  encouraged the Board to grant every D1 waiver request made by MLS, including multiple waivers

  of the same stadium capacity requirement that was not waived for NASL and was made the basis

  for denying it a D1 sanction” (id. at 23); (iv) “US Soccer began enforcing the Standards via the

  annual report requirement in 2009, the same year NASL emerged as a potential competitor to

  MLS” (id. at 24); (v) USSF heightened the Standards in 2010 when NASL was seeking a D2

  sanction and then did so again in 2014—“the same year NASL made known to U.S. Soccer that it

  planned to apply for a D1 sanction” (id. at 24); (vi) “U.S. Soccer and MLS pursued a joint financial

  venture, the SUM agreements” (id. at 24); and (7) “while Gulati was working for an MLS team,
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  he handpicked members of the U.S. Soccer Board who voted on adopting and applying the

  Standards” (id. at 24). This extensive evidence of concerted action, and much more, is now in the

  trial record, so there is no basis for finding a lack of any triable issue of fact on this issue.

          Rule of Reason: Defendants’ Rule 50 attacks on Dr. Noll’s economic testimony with

  respect to the relevant market, market power, and competitive effects are substantially the same

  criticisms made in their rejected Daubert and summary judgment motions. SJ Order at 13-16. As

  the Court held, anticompetitive harm may be found from the evidence that “Defendants’

  application of the Standards has resulted in a reduction in the output of D1 and D2 leagues because

  MLS is the only member of the former, and USL, the latter. This in effect reduces consumer (i.e.

  soccer team) choices of which league to join.” Id. at 27. The court also found that there was

  sufficient evidence to support Dr. Noll’s relevant market definitions Id. at 53. This same evidence

  was presented at trial, and it raises an issue of fact for the jury.

          Further, Defendants have not and cannot satisfy their burden to show procompetitive

  justifications.   As narrowed by the Court, NASL’s claims challenge the modification and

  application of the Standards, not the requirements themselves. But Defendants and their experts

  have only disclosed opinions that the standards requirements, in the abstract, are purportedly

  procompetitive—not that their application through the alleged conspiracy to protect MLS from

  competition was procompetitive. See SJ Order at 21; infra at 16.

          As for less restrictive alternatives, the Court held, on summary judgment, that NASL could

  raise a genuine issue of fact for the jury by arguing that “either the earlier version of the Standards

  or some other set of rules would be a less restrictive means of achieving the stability and

  organization that the Standards seemingly promote.” Id at 28. The trial record further supports

  another less restrictive alternative—that NASL should have been granted a multi-year



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  “incubation” or “runway” period similar to those received by MLS and USL. See infra at 16-19.

         Monopolization and Attempted Monopolization: As the Court stated in denying

  summary judgment, the Section 2 claims rise and fall with the Section 1 claims, forming “two

  sides of the same coin.” Id. at 28. A Rule 50 judgment should be denied for those counts for the

  same reasons set forth herein. See infra at 19-20.

         Williams Daubert Motion and Damages: Finally, there is no basis for the Court to either

  grant a Daubert motion against Dr. Williams’ damages testimony or to grant a Rule 50 motion

  against NASL’s damages claims. Virtually all of Defendants’ damages arguments either were

  rejected at the summary judgment and Daubert stage or merely present disputed issues for jury

  resolution. As for the issue of the entry fees that NASL owed to Team Holdings, it has nothing to

  do with Dr. Williams’ D2 damages estimates, and the new evidence that Defendants presented

  yesterday regarding NASL’s Puerto Rico team merely raises another factual question for the jury,

  not a methodological issue with Dr. Williams’ D1 damages methodology.

                                    STANDARD OF REVIEW

         “In light of [its] extremely high standard, judgment as a matter of law under Rule 50 is

  [only] granted on ‘rare occasions.’” Martinez, 2023 WL 4627739, at *7. The evidence must be so

  one-sided that “there can be but one conclusion as to the verdict.” Merrick Bank Corp. v. Chartis

  Specialty Ins., 2018 WL 11657680, at *2 (S.D.N.Y. July 16, 2018) (quoting Cruz v. Local Union

  No. 3, 34 F.3d 1148, 1154–55 (2d Cir. 1994)). The Court must view the evidence in the light most

  favorable to the plaintiff, drawing all reasonable inferences in its favor. Reeves v. Sanderson

  Plumbing Prods., 530 U.S. 133, 135 (2000); Vermont Plastics, Inc. v. Brine, Inc., 79 F.3d 272, 277

  (2d Cir. 1996). Because Rule 50 judgment “deprives the party of a determination of the facts by a

  jury, they should be cautiously and sparingly granted[.]” Maurer v. Patterson, 197 F.R.D. 244, 246

  (S.D.N.Y. 2000); Meloff v. N.Y. Life Ins., 240 F.3d 138, 145 (2d Cir. 2001) (same). The standard
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  under Rule 50(a) mirrors that for summary judgment under Rule 56. Reeves, 530 U.S. at 135;

  Anderson v. Liberty Lobby, 477 U.S. 242, 2500-51 (1986).

  I.     There Is No Basis to Grant a Rule 50 Motion Based on the Concerted Action
         Requirement of Plaintiff’s Section 1 or Section 2 Claims

         To prevail on a Section 1 conspiracy claim or a Section 2 conspiracy to monopolize claim,

  a plaintiff must show “some form of concerted action.” SJ Order at 22. Concerted action can be

  shown with “direct or circumstantial evidence” of “a conscious commitment to a common scheme

  designed to achieve an unlawful objective.” Monsanto Co. v. Spray-Rite Serv., 465 U.S. 752, 768

  (1984). “Rarely do co-conspirators plainly state their purpose.” NASL v. USSF, 883 F.3d 32, 39

  (2018); United States v. Snow, 462 F.3d 55, 68 (2d Cir. 2006) (“conspiracy by its very nature is a

  secretive operation, and it is a rare case where all aspects of a conspiracy can be laid bare in court

  with ... precision”). “[T]hat is the whole point of circumstantial evidence, as unlawful conspirators

  rarely commit their plan to writing.” SJ Order at 23.

         A.      Evidence of Defendants’ Concerted Action Presented at Trial

         The record here contains ample circumstantial evidence from which the jury can conclude

  that MLS and USSF engaged in concerted action. First, the trial evidence demonstrates that Gulati

  was not only USSF’s president until 2018, but also simultaneously worked for an MLS team and

  represented it at MLS and SUM meetings until the end of 2014. Gulati, Trial Tr. 1098:13-18.

  During that overlap, he directed increases in the D1 Standards that protected MLS from

  competition and made it harder for NASL to get a D1 sanction. JX-107 (Fike) Tr. 8:16-9:6, 13:19-

  14:18, 29:6-31:6, 38:8-39:4. When Gulati’s proposed increases to the Standards were submitted

  to the Standards Task Force, its members recognized that they served to exclude new competition

  to MLS. PX-91; JX-39. Even if certain proposed increases were not adopted, the proposed

  increases themselves reflect conspiratorial intent that was later manifested in USSF’s sanctions


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denials. The jury also heard evidence that Gulati lied to the Court when he represented that his

relationship with MLS had ended in 2013, before those Standards increases in 2014. Gulati, Trial

Tr. at 1053:12–1054:22.

       Second, the trial record evidences USSF’s and MLS’s shared economic motive to protect

MLS from competition through Soccer United Marketing (SUM)—an entity owned by the MLS

investor-operators (Abbott, Trial Tr. 906:24-25), which licensed USSF’s and MLS’s bundled

rights. JX-12. The evidence shows that the SUM agreements provided a “substantial financial

guarantee to USSF.” Abbott, Trial Tr. 810:20-811:1; JX-17.077. Garber stated that these

guarantees were essential for the success of USSF and “unprecedented in the sport.” Garber, Trial

Tr. 1444:23-1445:01, 1470:14-25; PX-224. These financial guarantees were part of MLS’s

original proposal for obtaining a sole Division 1 sanction (Abbott, Trial Tr. 807:3-20, 810:20-8),

and they provided USSF a financial motive to protect MLS from competition because higher-value

MLS rights would result in higher payments to USSF under the next SUM agreement. JX-109

(Collins) Tr. 14:17-15:6; SJ Order at 50.

       Third, the trial record is replete with admissions by Gulati and Garber that support a finding

of conspiracy: for example, that MLS and USSF are “joined at the hip on just about every issue …

for years” (Garber, JX-34.0001; Garber, Trial Tr. 1478:16-24); that MLS and USSF are

“completely aligned” (Gulati, Trial Tr. 1321:18-21); that their close relationship was

unprecedented around the world (Gulati, PX-445.001); that Gulati and Garber could “always

count” on each other (Garber, JX-34.0002); that USSF and MLS had “a strategic and financial

connection that is unprecedented in our sport” (PX-445-002; see also PX-598); and that MLS had

had a “mutually beneficial relationship with the Federation” since its founding in which both “the

leaders of MLS, our owners, the leaders of the Federation believe that the league and the future of



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the sport is inextricably linked.” PX-621, Garber, Trial Tr. 1593:25-1594:6. Garber also stated

that the relationship between MLS and USSF was “symbiotic.” Garber, Trial Tr. 1578:4-9.

       Fourth, there was a twenty-year history of unequal treatment favoring MLS and later USL

over NASL (Gulati, Trial Tr. 1164:19-1165:2; Garber, Trial Tr. 1580:9-17, 1683:8-1685:13),

which the Court cited on summary judgment as strong circumstantial evidence in concluding that

NASL had raised a triable issue of fact on concerted action. SJ Order at 47-48. All of this evidence

must be considered as a whole in assessing the circumstantial evidence of the alleged D1 and D2

conspiracies. SJ Order at 45.

               1.      Division 1 Concerted Action Evidence

       Ample record evidence was presented at trial on the alleged conspiracy with respect to

Division 1. First, USSF accepted MLS’s proposal to grant MLS an exclusive D1 sanction in 1993

and bar other leagues from even applying to compete as a D1 league until 1998. PX-487 at 2. At

the same time, USSF adopted the Standards with the express motivation to protect MLS from

“competition” to ensure it was “successful.” JX-108 (Contiguglia) Tr. 73:17-24. MLS was

selected for D1 without being required to comply with the Standards—it did not even have any

teams, stadiums or investors. Abbott, Trial Tr. 797:2-21. MLS was not required to comply with

the Standards from 1997 to 2009 under any formal review process. Abbott, Trial Tr. 834:20-

835:06. It was only when NASL emerged as a potential long-term competitor to MLS in 2009 that

Gulati declared that USSF would begin enforcing the Standards. Gulati, Trial Tr. 1079-6:21;

Abbott, Trial Tr. 841:9-842:4. And then, MLS freely was given waivers whenever it requested

them (Abbott, Trial Tr. 858:14-19, 861:22-862:11) and was able to retain its D1 sanction even

when it needed waivers and failed to ask for them (Abbott, Trial Tr. 835:24-836:02).

       In stark contrast, USSF denied NASL a D1 sanction based primarily on the stadium

capacity requirement, characterized by USSF and MLS witnesses at trial as a “team waiver”
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(Abbott, Trial Tr. 960:17-23), without any consideration of an incubation period like that given to

MLS, or even a few years to come into compliance with the D1 sanction (Gulati, Trial Tr. 1115:07-

21, 1324:04-09). Gulati—who had testified that team waivers were much less significant than

league waivers—could not explain why it was warranted to deny NASL eight stadium-related team

waivers, when MLS had received eight team waivers as recently as 2014 and many prior stadium-

related waivers in other years as well. Gulati, Trial Tr. 1312:2-13, 1314:2-16. Further, the only

league waiver NASL needed for its D1 application was for the lack of a time in the Pacific Time

Zone (even though it had teams in four time zones in 2016). Even USSF compliance officer Jeff

L’Hote conceded this was not a significant waiver. L’Hote, Trial Tr. 1876:2-6.

       Nor can Defendants argue that Rule 50 relief is warranted because of an absence of

evidence that the individual voting members of the Board knew about the conspiracy between

MLS and USSF that was participated in by Gulati, Garber, and others working at their behest.

First, there is no requirement to prove an agreement between the voting members of the USSF

Board in their individual capacities in a case alleging a conspiracy between USSF and MLS as

entities. See ECF No. 515. Second, the trial evidence shows that Gulati successfully employed

his role as USSF President to cause the voting Board members to follow his sanction

recommendations that favored MLS to protect it from competition with NASL. The brief

deliberations on NASL’s D1 application show that Gulati directed the Board to deny NASL’s

application, and other Board members just went along with virtually no discussion. JX-58.0026-

0027. Moreover, there was no vote on the possibility of granting NASL waivers, even though

NASL was later falsely told such a vote had taken place. Id.; JX-59. And no recommendation on

NASL’s sanctioning application to the Board was presented by the Professional League Task

Force, even though that was the responsibility of that group. JX-58.0026-0027; Gulati, Trial Tr.



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1113:18-1114:9.1

                 2.       Division 2 Concerted Action Evidence

        The trial evidence also raises fact questions that require the denial of Defendants’ Rule 50

motion with respect to the alleged D2 conspiracy. As early as 2009, MLS and USSF were

discussing their preference for a single D2 league, and according to Garber, MLS was “interested

in a closer relationship with a US second division.” PX-574. L’Hote, then a consultant to MLS,

advised the league that “to ensure benefits, MLS must lead D-2.” JX-27.0001, .0005. USL—

whose business plan, according to CEO Alec Papadakis, had always called for it to not compete

with MLS—was an obvious partner. JX-112 (Papadakis) Tr., 18:24-19:3. MLS followed through

with its plan and formalized its participation in the Division 2 market in January 2013 by signing

an affiliation agreement with USL. JX-32.0003. Under that initial agreement, USL paid MLS

50% of USL Pro franchise acquisition fees received by USL. Id. at -.0005. The evidence shows

that by 2014 MLS and USL had a plan for USL to apply for a D2 sanction in 2017. JX-46.0001.

        The trial evidence also shows the unequal treatment by USSF to favor the MLS/USL

partnership, as compared to NASL, in 2017. Such unequal treatment is powerful circumstantial

evidence of the alleged D-2 market conspiracy. SJ Order at 47-48 & n.9. The jury heard evidence

that both NASL and USL received provisional sanctioning for the 2017 season, despite USL

needing 31 waivers and NASL needing two. Sehgal, Trial Tr. 477:9-14; JX-78. USL’s provisional

sanction letter included a requirement that USL “provide a plan to the Federation regarding those

teams which do not currently meet the D2 standards, detailing how such teams will come into



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 Defendants also have contended that NASL’s alleged lack of Division 1 readiness in terms of player quality—or its
connection with Aaron Davidson and Traffic Sports—explained the decision to deny it a D1 sanction. But these are
clearly disputed issues of fact for the jury. Neither Traffic, nor lack of player quality were never mentioned at the
deliberations to deny NASL a D-1 sanction (JX-58) or in the letter denying the sanction (JX-59).



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compliance and providing milestones and completion dates,” while NASL’s letter had other

requirements. JX-78 at 9-11; PX-197. Significantly, USL did not satisfy requirements in its letter

(L’Hote, Trial Tr. 1828:6-25), while NASL met all the requirements in its letter (Sehgal, Trial Tr.

479:10-482:10). Nonetheless, NASL was denied a D2 sanction despite only needing the same two

waivers it had received for the 2017 season (JX-78 at 5) purportedly based on its lack of a plan to

come into compliance with the Standards, a requirement only in USL’s sanction letter (JX-79).

USL, in contrast, kept its D2 sanction despite initially needing 21 waivers and ultimately needing

11 waivers, and was given two more years to show substantial progress toward Standards

compliance. L’Hote, Trial Tr. 1881:6-1883:8.

       This unequal treatment is strong circumstantial evidence of the alleged conspiracy to favor

MLS’ business partner USL with a D2 monopoly, and that evidence is bolstered by additional

circumstantial evidence. First, L’Hote advocated for accelerating the sanctioning deadline for D2

applications because “2018 league application deadlines and Board sanctioning decision date

becomes critical, particularly re: whether NASL will have enough teams to apply for D-2.” PX-

180. Second, Mr. Gulati met with the Pro League Task Force the night before the September 1,

2017 Board meeting and developed the position he advocated the next day: that NASL be denied

a D-2 sanction outright and that USL be given thirty days to demonstrate further compliance with

the Standards. Gulati, Trial Tr. 1171:6-19. Gulati openly stated that the plan was to deny NASL

a D2 sanction to try to persuade its members to leave NASL and join USL in a merger. JX-77 at

135:14-137:10. He made this the “Chair’s recommendation,” which the voting Board members

followed. JX-77 at 185-86. Third, at the same board meeting, before the voting took place, Garber

made a speech urging the Board to have the federation act “with teeth.” JX-77-0061. At trial,

Garber was given every opportunity to offer a benign explanation for his “teeth” comments, but



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he could not offer a single one to dispute the fact that he was telling the Board to deny the NASL

D-2 sanction outright. Id.

II. There Is No Basis to Grant a Rule 50 Motion on the First Step of the Rule of Reason or
    to Exclude Dr. Noll’s Expert Testimony on This Point

   Defendants have no basis to seek a Rule 50 judgment against Plaintiff’s showing of

anticompetitive effects in a relevant market under the first step of the Rule of Reason analysis. See

SJ Order at 54. Nor do they have any basis to seek to exclude Dr. Noll’s testimony on these issues

under Rule 702 or Daubert. All of these arguments were advanced by Defendants previously on

summary judgment and in their failed Daubert motion against Dr. Noll. See MLS MSJ at 45–53;

USSF MSJ at 27–32; Defs.’ Noll Daubert Memo at 1–2.

       A.      Relevant Markets

       Defendants sought to exclude Dr. Noll’s relevant market testimony at the Daubert stage on

the same grounds they argue now in their Rule 50 motion. Specifically, Defendants argued that

Dr. Noll failed to conduct an adequate substitution analysis to define the relevant markets. As the

Court held then, a relevant product market only includes all products “reasonably interchangeable

by consumers for the same purposes.” U.S. v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 395

(1956). Products are reasonably interchangeable if consumers treat them as acceptable substitutes.

See PepsiCo v. Coca-Cola Co., 315 F.3d 101, 105 (2d Cir. 2002).

       Defendants further argued in their prior Daubert motion that Dr. Noll failed to assess

whether D1 and D2 labels are substitutes for each other; whether a D3 label is a substitute for

either a D1 or D2 label; whether unsanctioned leagues that pay players are substitutes for leagues

with D1, D2, or D3 labels; whether an increase in the price of U.S. Soccer sanctions would cause

a professional league to move to another sport or country; or the actual price that leagues pay for

a sanction, which is necessary to perform a substitution analysis. Defendants also argued that Dr.


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Noll failed to perform a “hypothetical monopolist test” (“HMT”) and run a so-called “SSNIP

[small but significant non-transitory increase in price] test.” SJ Order at 31.

       The Court rejected all of these arguments. Specifically, it held that the substitution analysis

that Dr. Noll used in his expert reports, and which he covered in his trial testimony, was sufficient,

holding that “[t]he Court agrees that Noll concluded a substitution analysis using adequate

methods. Although there may be weaknesses or oversights in Noll’s approach, those weaknesses

are better left to cross examination rather than exclusion.” SJ Order at 32.

       The court expressly found that, for the Sanctioning Markets, Dr. Noll concluded that an

HMT would not be possible because USSF is a monopolist for all levels of that market. He

therefore performed a direct analysis of various substitutes, finding that “evidence indicates that

teams do not regard leagues in different divisions as close competitive substitutes”; “[b]ecause

leagues in different divisions differ so much in quality, sanctions in these divisions are not close

competitive substitutes”; “[b]ecause the privileges of being in a D1 or D2 league have value,

classifications affect the incentive for teams to spend on team quality, inducing teams that are in a

higher league to spend more” so that unclassified teams are not close substitutes; and that “an

increase of ten percent in USSF league sanction fees” would not “cause a league such as MLS to

become a professional major league in another sport or move to Europe.” Id.

       At trial, Dr. Noll presented the very same analysis, based on his review of substantial data,

as to the Sanctions Markets. See Noll, Trial Tr. 2127:9–17 (explaining the process for determining

competitive product substitutes); id. at 2127:22–2128:23 (“[W]hat I concluded after looking at

those data was that D1 versus D2 are completely different lines of business, they have very

different exposure to the public, they have different pricing structures, different costs, they have

different performance in international competitions and national competitions.”); id. at 2129:17–



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2130:5 (sanction is necessary for leagues attempting to attract professional players); id. at 2130:9–

2131:3 (in general, international competition selection is based on Division; Divisions thus are not

fully interchangeable); id. at 2132:18–21 (small price changes in one Division would not be

enough to make it interchangeable with another); id. at 2119:24-2120:6 (reviewing data Dr. Noll

analyzed), 2119:2-10 (same).

       As for the Team Membership Markets, the court found, in rejecting Defendant’s Daubert

motion, that Dr. Noll concluded that “a ten percent increase in MLS expansion fees” would not

“cause a prospective owner of an MLS expansion team instead to buy a major league team in

another sport or a soccer team in Europe.” SJ Order at 32. Dr. Noll also concluded that expansion

fees would decrease if various leagues in the same division competed for potential team owners.

He further examined the history of teams switching between divisions, and concluded that the

history supports his conclusion that each division is its own market because it shows that leagues

must divisions to “seek a different level of quality, not because the Division 2 and Division 3 USL

leagues were in competition with one another.” Id. at 33.

       Dr. Noll’s trial testimony on the Team Membership Market is the same. SJ Order at 34;

e.g., Noll, Trial Tr. 2134:19–2135:5 (“How much does an expansion franchise cost in a Division I

league versus a Division II league, versus a Division III league. Again, if they were all perfect

substitutes, if you were different as to which league you will be in, you couldn't charge a premium

for D-II, and then a really big premium for D-III. But, in fact, those premiums exist.”), 2136:6-17,

2137:18-22, 2138:23-2139:14; 2175:11-19; id. at 2179:4-8; 2265:6-18. Defendants have failed to

present any new argument as to why this testimony does not present fact issues for the jury in

defining the relevant markets. Expert disputes involving market definition are “highly factual ...

and ... best allocated to the trier of fact.” See Meredith Corp. v. SESAC LLC, 1 F. Supp. 3d 180,



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219 (S.D.N.Y. 2014). This Court noted that the Second Circuit found the relevant markets offered

in support of the preliminary injunction to be proper based on, among other things, the industry

treatment of these markets as distinct—a point testified to by Professor Noll at trial. (E.g., Noll,

Trial Tr. 2123:5-2124:8, 2127:18-2128:23).

       B.      Market Power, Monopoly Power and Anticompetitive Harm

       There is also no basis for a Rule 50 judgment on the issues of market power, monopoly

power and anticompetitive harm. The Court previously addressed Dr. Noll’s evidence on these

issues at summary judgment and found that they raised issues of fact for trial. SJ Order at 34

(regarding Noll’s opinions on anticompetitive effects in the relevant markets, “[u]ltimately, the

question of causality is a fact-dependent issue that the jury must determine.”). That same evidence

was presented at trial, presenting the same factual issues for the jury to decide.

         For example, Dr. Noll testified at trial on the indisputable point that if his relevant markets

are accepted, MLS has monopoly power with 100% of the D1 team membership market. Noll,

Trial Tr. at 2142:19-25. The same would be true of USL in the D2 market following NASL’s D2

sanction denial. Id. at 2143:10-16. Noll further testified how USSF had monopoly power in the

Sanctions Markets to exclude and control entry. See, e.g., id. at 2142:03-15. The case law holds

that “a market share of over 70 percent is usually strong evidence of monopoly power,” let alone

100%. Tops Markets, Inc. v. Quality Markets, Inc., 142 F.3d 90, 99 (2d Cir. 1998).

       Having shown that there are relevant markets in which the Defendants have monopoly

power, or conspired to obtain such power, Dr. Noll then provided ample trial testimony to support

a jury determination that the conspiracy to deny NASL a D1 and D2 sanction would have

anticompetitive effects in the relevant markets. Defendants have argued that harm to a single

competitor is not harm to competition. But that is not the case where the plaintiff is excluded from

a market so concentrated, as is the case here, that its exclusion causes a reduction in output and a
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reduction in competitive choice. Clorox Co. v. Winthrop, 836 F. Supp. 983, 990 (E.D.N.Y. 1993)

(“[C]ommon sense indicates that the pool of potential competitors and famous names is limited,

and that an agreement that restricts even one competitor from using a famous mark could possibly

implicate competitive conditions in the market.”). The court previously considered this issue in

denying Defendants summary judgment on this point. SJ Order at 55. The same analysis should

apply here, where Dr. Noll has presented the same testimony about competitive harm at trial.

       Before trial, Defendants argued that Dr. Noll’s conclusions as to anticompetitive effects

“rest on [the] untested assumption . . . that U.S. Soccer’s divisional labels (D1, D2, D3) drive

league quality and success, rather than investments in players, coaches, first-class stadiums,

training facilities, and the like.” Defs.’ Noll Daubert Memo at 1. The court, in response, stated in

its summary judgment decision that Dr. Noll “opines that – unlike the market for other sports

entertainment – a divisional sanction is necessary to compete and succeed in men’s professional

outdoor soccer due to the unique role of USSF as providing a ‘quality-identifying sanction.’

Because of USSF’s unique role, team owners and/or league investors will only be ‘incentivized to

pay the higher salaries to obtain higher quality players if those owners have received the required

sanction that would incentivize them to do so.’” SJ Order at 34. The Court then rejected

Defendants’ arguments on this issue.

       At trial, Dr. Noll testified to these same competitive harms. Noll, Trial Tr. 2148:13–

2149:10. The decision to deny NASL a D1 sanction caused competitive harm by creating a

monopoly in the D1 market. The decision to deny NASL a D2 sanction caused competitive harm

by creating a monopoly in the D2 market, and forcing many NASL teams to either join a lower

sanctioned league or cease operation; id. at 2150:22–2151:13 (speed of growth and expansion of

teams is lower in markets that have been monopolized); id. at 2214:23–2215:8 (USSF held NASL



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to a higher expectation than MLS and USL in the sanctioning process.)

III.       There Is No Basis to Grant a Rule 50 Judgment on Step 2 of Rule of Reason.

           Defendants’ argument for a Rule 50 judgment on Step 2 of the rule of reason analysis—

procompetitive benefits—is frivolous for two reasons. First, it is well established that a plaintiff

does not bear the burden on Step 2 of the rule of reason. See SJ Order at 54. Once anticompetitive

effects are shown, as here, “the burden shifts to the defendant[s], who must demonstrate the

procompetitive effects of the challenged restraint.” NASL v. USSF, 883 F.3d at 42 (citing U.S. v.

Am. Express Co. (“AmEx”), 838 F.3d 179, 195 (2d Cir. 2016)).

           Second, because NASL’s claims as limited by prior Court rulings are directed at the

application of the Standards and the anticompetitive harms resulting therefrom, 2 Defendants must

provide procompetitive justifications for the challenged conspiracy to apply the Standards to

protect MLS from competition. But Defendants have not offered evidence of any justification for

that anticompetitive application of the Standards.                    Nor could they—applying standards

discriminatorily to exclude competition and protect MLS is inherently anticompetitive. See Allied

Tube & Conduit Corp. v. Indian Head, 486 U.S. 492, 509 (in a private standards case, “the hope

of procompetitive benefits depends upon the existence of safeguards sufficient to prevent the

standard-setting process from being biased by members with economic interests in restraining

competition”). Instead, Defendants merely have offered evidence that standards requirements in

the abstract might be beneficial, 3 which cannot justify the alleged conspiracy to apply the




2
  See MSJ Order at 43, ECF No. 399 (“[T]he denial of sanctions is attributable to U.S. Soccer’s application of the
Standards, not the Standards in and of themselves.”); MIL Order at 3, ECF No. 451 (“In dismissing Count One, Judge
Cogan made clear that the remainder of Plaintiff’s case turns on the application of the Standards, not on the decision
to use sanctioning standards to restrict entry.”).
3
    JX-108 (Contiguglia) Tr. 123:22-124:21, 127:15-22.

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Standards in an unequal manner to shield MLS and USL from competition. 4

           Defendants also cannot satisfy their burden to show a procompetitive justification using

their experts, because their expert reports do not disclose any opinions that the alleged conspiracy

to apply the Standards unequally to shield MLS and USL from competition in the D1 and D2

markets, respectively, would have any procompetitive effects. Indeed, Dr. Murphy offers no

opinions at all on procompetitive effects regarding the Standards and their application, as he states

that it is not within his expertise as an economist to do so. 5 Moreover, to the extent Dr. Murphy

offers the opinion that the Standards themselves may be procompetitive, that testimony has been

precluded by this Court’s ruling on the parties’ motions in limine. Dec. 5, 2024 Hearing Tr. At

8:10-9:12. None of Defendants’ experts have disclosed any opinions that the application of the

Standards through a conspiracy to protect MLS and USL from competition would be

procompetitive in any way.6 And that is the only relevant issue on the rule of reason now that

Count I of the Amended Complaint has been dismissed.

IV.        There Is No Basis to Grant a Rule 50 Judgment at the Less Restrictive Alternative
           or Final Balancing Step of the Rule of Reason

           Assuming there was any relevant evidence of procompetitive benefits, NASL has more

than met its burden to raise a jury issue that any such “‘legitimate competitive benefits ... could



4
 The fact that NASL has chosen not to call Dr. Szymanski to opine on this issue is irrelevant. It is Defendants, not
Plaintiff, who have the burden to show procompetitive effects, and no evidence has been presented at trial by
Defendants to meet this burden.
5
  Murphy Tr. at 148:22-149:9 (“Q: Have you done any analysis of . . . whether or not USSF enforced the professional
league standards in Division 1 for the period between 1997 and 2008? [. . . ] A: I wouldn't put myself forth as an expert
on that. I know that there were standards. My understanding is there wasn't the same annual review process that there
was later. To the extent to which they, quote, enforce those standards, you'd have to talk to them. I can't give you
further insight into that.”); id. at 188:19-23 (“Like I said, I don't know the specifics of why the Central time zone was
considered more important than the Mountain time zone. You should ask the people who formulated the standards
why they thought that was a more appropriate criteria.”); id. at 196:15-197:20 (admitting he did not know how many
waivers USL needed from the Standards in 2017 but that it could be relevant to assessing whether or not the standards
applied in a procompetitive or anticompetitive way).
6
    Defendants have only disclosed Dr. Murphy as testifying on procompetitive benefits. ECF No. 464 at 22-23.

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have been achieved through less restrictive means.’” NASL, 883 F.3d at 42 (quoting AmEx, 838

F.3d at 195). Specifically, the trial record shows that MLS and USL both were given multi-year

“incubation” and “runway” periods during which the Standards were not enforced against them,

and they were given time to develop in D1 and D2 without the destabilizing threat of having their

sanctions being taken away each year, including the following specific evidence: (1) MLS was

selected to receive a D1 sanction in 1993 before it even had any teams, stadiums, or investors

(Abbott, Trial Tr. 797:2-21; Gulati, Trial Tr. 1323:3-11); (2) MLS was granted a “runway” such

that it explicitly did not have to comply with the Standards until 1998 (Gulati, Trial Tr. 1051:9-

16; Abbott, Trial Tr. 824:11-826:14); (3) MLS did not comply with the Standards from 1998

through 2009, and USSF did not require MLS to either show compliance with the Standards

(Gulati, Trial Tr. 1084:7-14; Abbott, Trial Tr. 835:1-6); and (4) MLS was granted waivers freely

after that point whenever it requested them for twenty years and was allowed to remain in D1 even

when it violated the Standards and failed to request any waivers (Gulati, Trial Tr. 1164:5-1165:2;

Abbott, Trial Tr. 853:19-855:20; Garber, Trial Tr. 1554:4-24, 1569:18-1570:24).

       As for USL, after being granted 31 waivers for 2017 and being allowed to retain its D2

sanction for 2018 despite needing 21 waivers, USL was granted two more years to make

“substantial progress” toward coming into compliance with the Standards, without requiring full

compliance. Gulati, Trial Tr. 1141:16-1142:4, 1177:7-22, 1313:1-1314:1, 1345:11-1346:15.

       The jury should be able to determine, based on this record, whether a less restrictive

alternative to denying NASL’s D1 and D2 applications outright would have been granting NASL

a similar incubation or runway period. Specifically, NASL requested in its D1 application for

2016 that the D1 requirements concerning time-zone coverage and stadium capacity not be

enforced to deny it a D1 sanction, because NASL would satisfy the time-zone requirement with



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its new team in California in 2017, and NASL was making progress toward satisfying the stadium

capacity requirement but was being held back from doing so by its lack of a D1 sanction. JX-

100.0048-.0052. But USSF refused to grant NASL a D1 sanction for even a single year—despite

giving MLS a decades-long incubation period without enforcing the Standards.

       Similarly, after NASL lost a number of teams as a result of that D1 denial, NASL requested

a three-year period during which the D2 Standards would not be applied against it, such that it

could recover from the D1 denial and attract team owners to invest in the league—without the

threat of having its sanction taken away each season deterring team owner investment. JX-

77.0089-.0090, .0097, .0105-.0106. But USSF President Sunil Gulati denied that request for three

years on the spot without even putting it to a USSF Board vote (JX-77.0114-.0116), in stark

contrast with the multi-year non-enforcement period granted to USL.

       Significantly, USSF’s own Standards compliance officer Jeff L’Hote asserted that a less

restrictive alternative to enforcing the Standards each year—or a “more flexible recourse”—would

be to give leagues such multi-year periods to come into compliance with the Standards:

               Neither the existing [Standards] nor their application have stopped
               the continued volatility around lower divisions. ... Other than not
               sanctioning a league, the [Standards] do not provide US Soccer with
               more flexible recourse options ... From a practical perspective, many
               recent waivers were clearly not curable in a single year. Should
               2018 waivers be granted for an extended period to attempt to cure
               all existing waivers? (PX-193).

       Another less restrictive alternative which the jury should be able to consider is the fact that,

for D2, NASL could have just been subject to the eight-team requirement that applied in D2 for

decades and that still applied for a league with a D2 sanction for its first two years. JX-94.0007.

Hunt testified that he believed eight teams was a reasonable number of teams even for a D1 league.

Hunt, Trial Tr. 1914:11-15. Another less restrictive alternative for D1 was to give NASL team

waivers for its stadiums, as USSF previously had freely given team waivers to MLS. Hunt testified
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that he did not see any legitimate need for USSF to tell leagues that they needed a minimum

stadium capacity. Hunt, Trial Tr. 1943:14-21.

        Finally, the jury should be permitted to balance any anticompetitive harm and asserted

procompetitive effects. Because USSF has no expert testimony to offer that the conspiracy to

favor MLS in the application of the Standards through unequal treatment would be procompetitive,

there is nothing to balance against the expert testimony of Roger Noll about anticompetitive harm.

As the Second Circuit held earlier in this case, “[u]ltimately, ‘[t]he true test of legality is whether

the restraint imposed is such as merely regulates and perhaps thereby promotes competition or

whether it is such as may suppress or even destroy competition.’” NASL, 883 F.3d at 42. Based

on the evidence of anticompetitive harm, which raises fact issues for the jury, as well as

Defendants’ inability to show any procompetitive justification for the Standards’ discriminatory

application, there is clearly no basis for the Court to grant a Rule 50 order on this issue and deprive

the jury of its right to decide the disputed facts in this case.

V.      There Is No Basis for a Rule 50 Judgment Against Plaintiff’s Monopolization and
        Attempted Monopolization Claims Against MLS (Counts Four and Five)

        As this Court has held in denying Defendants’ summary judgment motion, the same

evidence serves to prove the alleged concerted anticompetitive conduct for purposes of Plaintiff’s

Section 2 claims as for Section 1, requiring the same conclusion. SJ Order at 57 (“[NASL’s]

Section 2 claims rise and fall with its Section 1 claims.”). Because the evidence presented requires

that the jury determine Plaintiffs’ claims of conspiracy under Section 1 (see Section I, supra), the

same conclusion must be reached for Plaintiff’s Section 2 claims.

        In the context of both monopolization and attempted monopolization claims, evidence of a

conspiracy to obtain or maintain a monopoly constitutes evidence of exclusionary or

anticompetitive conduct to support a Section 2 verdict. See American Tobacco Co. v. United States,


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328 U.S. 781, 809-10 (1946) (agreements to monopolize are actionable under Section 2); Likewise,

in attempted monopolization claims, agreements aimed at excluding competitors or foreclosing

market access satisfy the anticompetitive conduct element. In re Keurig Green Mt. Singleserve

Coffee Antitrust Litig., 383 F. Supp. 3d 187, 230, 234 (S.D.N.Y. 2019). Moreover, the specific

intent to monopolize element of an attempted monopolization claim is satisfied by the showing of

a conscious commitment to a common scheme designed to achieve an unlawful purpose. P & L

Dev., LLC v. Gerber Prods. Co., 715 F. Supp. 3d 435, 461, 465 (E.D.N.Y. 2024). The same is true

for the requirements of proving relevant markets, monopoly power or attempted monopolization.

Because there are triable issues of fact on each of these points for Section 1, the same conclusion

must be reached for the Section 2 claims. SJ Order at 57.

VI.    There Is No Basis for a Rule 50 Judgment on NASL’s Conspiracy to Monopolize
       Claim (Count Three)

       Plaintiff’s conspiracy to monopolize claim “requires proof of (1) concerted action, (2) overt

acts in furtherance of the conspiracy, and (3) specific intent to monopolize.” Volvo N. Am. Corp.

v. Men’s Int’l Pro. Tennis Council, 857 F.2d 55, 74 (2d Cir. 1988). As discussed above, the

circumstantial evidence of the alleged conspiracy is sufficient to require the jury to determine

whether there was a conspiracy to monopolize the Division 1 and Division 2 markets.

       Moreover, with respect to NASL’s claim of conspiracy to monopolize the D2 market in

particular, NASL does not need to prove that USL is a member of the conspiracy with MLS and

USSF. Nor does MLS need to be a participant in the Division 2 market to be found liable; a

conspiratorial agreement between two parties that is intended to acquire or sustain monopoly

power for any entity is sufficient for liability under Section 2 of the Sherman Act, even if the

monopolist itself is not found to be proven to be one of the conspirators. Id. at 60, 74 (2d Cir.

1988) (upholding conspiracy to monopolize allegations where a tennis membership organization


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had required “the top one hundred men’s professional tennis players [to] sign[] Commitment

Agreements,” even though MIPTC itself did not compete in the alleged relevant markets); Discon,

Inc. v. NYNEX Corp., 93 F.3d 1055, 1062 (2d Cir. 1996), vac’d on unrelated grounds, 525 U.S.

128 (1998) (emphasis added) (upholding a conspiracy to monopolize claim because “to be liable

for conspiracy to monopolize, it is not necessary that the [] Defendants compete directly in the

[relevant] market.”). Further, even if there were a requirement for MLS to participate in the D2

market, NASL has presented sufficient evidence on this issue to go to the jury, including the facts

that (i) MLS directly participated in the D2 market monopoly through its teams in the USL (Abbott,

Trial Tr. 874:4-875:2, 890:12-18; Garber, Trial Tr. 1562:6-9); (ii) MLS and USSF entered into a

partnership in which it was planned, back in 2014, that USL would obtain a D-2 sanction in the

2017 season (JX-46.0009); and (iii) MLS investor operators, which own MLS, competed directly

in the D2 market through USL, in 2017 and 2018 either by virtue of having teams in USL or

affiliations with teams in USL. Garber, Trial Tr. 1567:4-1568:12; 1697:19-1698:18.

VII.      There Is No Basis for Either a Daubert Exclusion of Dr. Williams’ Damages Opinions
          or a Rule 50 Order Against Plaintiff's Damages Claims.

     All but one of Defendants’ criticisms of Dr. Williams’ damages opinions are either arguments

that were rejected at the Daubert stage or are clearly disputed fact issues for resolution by the

jury: 7

    • Defendants argue that NASL’s league dues failed to fully offset NASL’s operational
          expenses, such that NASL’s profits from entry fees would have been reduced. But this is
          a fact issue for the jury, not an issue of reliability, as the Court explained previously in its
          earlier Daubert ruling.8


7
  Munn v. Hotchkiss Sch., 24 F. Supp. 3d 155, 172 (D. Conn. 2014) (finding that where there is a disagreement on a
factual issue, the issue is to be resolved by the jury, not via Daubert motion).
8
  MSJ Order at 20, ECF No. 399 (“NASL admits that NASL had never turned a profit, but points out that NASL’s
team owners were contractually obligated to pay for NASL’s league costs through league dues, and it was reasonable
to assume that they would abide by these obligations. In NASL’s view, NASL had not turned a profit because it had


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    •    Defendants argue that Dr. Williams failed to account for the possibility that Traffic’s
         indictment reduced the willingness of future teams to join NASL. But this is a fact issue
         for the jury since, as Dr. Williams explained, the rate of team entry that he calculated takes
         account of the time period after Traffic’s indictment was made public in May 2015.
         Williams, Trial Tr. 2413:7-24. Indeed, NASL had three more teams agree to join the league
         in 2015 after May, contrary to Defendants’ theory that Traffic would have dissuaded any
         team owners from joining the league. Williams, Trial Tr. 2290:2-8.
    •    As Dr. Williams testified, he used data from MLS to help calculate the value of a D1
         sanction using a regression methodology, since MLS was the only men’s D1 league in the
         U.S. that was available for this purpose. Williams, Trial Tr. 2293:4-2294:13. He then used
         a regression to apply that D1 value to a league with NASL’s characteristics, rather than
         MLS’ characteristics. Id. This is a proper and standard usage of regression methodology
         in the damages context. See Johnson Elec. N. Am. Inc. v. Mabuchi Motor Am. Corp., 103
         F. Supp. 2d 268, 283 (S.D.N.Y. 2000).
    •    Defendants argue that MLS is not a proper “yardstick” for NASL due to its differences
         from NASL. But this is just another fact issue for the jury that the Court rejected.9
    •    Defendants argue that Dr. Williams’ projected expansion fees are too high. But, this too
         is a fact issue for the jury, as Dr. Williams’ projections are rooted in sound economic
         methodology and expansion fee data from MLS, USL and NASL itself, and the expansion
         fees he projects are merely a small fraction of those that MLS has been able to obtain,
         which reached over $300 million per team. Abbott, Trial Tr. 903:20-21. Further, as Dr.
         Williams pointed out, the value of NASL’s Minnesota club rose from a few million dollars
         in D2 to over $50 million in D1, reflecting the great impact of a D1 sanction on how much
         a team is worth. Williams, Trial Tr. 2475:3-2476:9.
    •    Under Miami FC’s league admission agreement, the “entry fee payable ... [wa]s three
         million dollars ($3,000,000),” which would be discounted to $2,750,000 if Miami FC
         fielded a team by 2016. PX-128.002 (cited in Dr. Williams’ Materials Considered, PX-
         296.018). Dr. Williams used $3 million as Miami FC’s price for purposes of his projection
         of NASL future entry fees because it was his economic opinion that that was the
         appropriate price for Miami FC to use for purposes of projecting future NASL entry fees—
         not the discounted $2,750,000. Williams, Trial Tr. 2429:11-2431:24. While Defendants
         argue that $2,750,000 was the appropriate figure, that is a dispute for resolution by the jury,
         not a Daubert issue. SJ Order at 8-13.

sustained one-time costs—including a $3 million settlement payment that NASL made to Traffic Sports—that were
not likely to occur again in the future. Again, the Court is not persuaded that this assumption is so speculative as to
render Williams’s opinions unreliable.”).

9
  MSJ Order at 20-21, ECF No. 399 (“I cannot say that Williams was unreasonable in using MLS’s performance as
an input into his model. MLS’s performance is simply the closest thing that Williams could have used to evaluate the
performance of a D1-sanctioned league, as there isn’t another D1-sanctioned league in NASL’s proposed relevant
market. Williams also worked to minimize these differences by substituting NASL data into the regression model to
control for differences between the leagues. In fact, Williams opines certain differences between the leagues gave
NASL an advantage. For example, NASL’s team-centric model actually had competitive advantages for the league
in reducing costs for NASL and encouraging inter-team competition and investment that would improve the quality
of play and other aspects of NASL’s product.”).

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     •   Defendants argue that Dr. Williams’ testimony is unreliable because he projected that eight
         new D1 teams or fifteen new D2 teams would join NASL over the course of ten years, but
         NASL’s team count only changed from eight to twelve between 2011 and 2016. Williams,
         Trial Tr. 2360:10-17. In reality, NASL added some teams between 2011 and 2016, but
         also lost some. Williams, Trial Tr. 2360:15-2361:01. The fact that NASL lost some teams
         does not mean the expansion fees they paid should be ignored in projecting NASL’s future
         expansion fees, as Dr. Williams explained. Williams, Trial Tr. 2478:8-13.
     •   Defendants argue that it was unreasonable for Dr. Williams to assume that NASL would
         have successfully maintained its sanction in the but-for world throughout the damages
         period. But the Court specifically rejected that argument as a fact issue for jury resolution
         at the Daubert stage.10
     •   Defendants argue that Dr. Williams’ testimony is unreliable because a column in one of
         his exhibit spreadsheets lists what Defendants claim is the wrong number of NASL’s
         teams. Specifically, to determine the number of teams NASL would have had in 2017 in
         the but-for world, Dr. Williams took the number of teams that NASL already had—eight—
         and added two additional teams from California that committed to join NASL for the
         following season. Williams, Trial Tr. 2388:02-15. Dr. Williams then added two teams for
         each subsequent season. Williams, Trial Tr. 2309:21-2310:1. Defendants argue that Dr.
         Williams should have subtracted two teams from the number-of-teams column because,
         after the 2017 season, two of its teams left the league. Williams, Trial Tr. 2392:10-2393:19.
         But this is a fact issue for the jury, as Dr. Williams explained that under economic damages
         theory, Defendants’ approach would improperly be taking account of events that occurred
         in the actual world after the D2 denial, which is when the but-for world began. Williams,
         Trial Tr. 2391:17-2392:3.
     •   Defendants argue that Dr. Williams should have been able to identify the future teams that
         would have joined NASL over the course of ten years by name, location, ownership group,
         and the like. Williams, Trial Tr. 2485:17-22. But as Dr. Williams correctly explained, this
         is not how projections of damages work using standard economic methodology, and it is
         neither possible nor necessary to project that type of detailed information about what would
         have occurred in the but-for world. Williams, Trial Tr. 2486:16-2487:7. Any such
         requirement to prove exactly what would have occurred in the but-for world, despite the
         impossibility of doing so, would violate the well-established rule that where uncertainty as
         to the plaintiff’s damages results from the defendants’ own unlawful conduct, “the jury
         may make a just and reasonable estimate of the damage based on relevant data, and render
         its verdict accordingly. … Any other rule would enable the wrongdoer to profit by his
         wrongdoing at the expense of his victim.” 11

10
   SJ Order at 22 (“I cannot say that Dr. Williams was unreasonable in assuming that NASL would continue as a D1
team for ten years had it received that designation in 2016. Nor do I think the Circuit intended to cabin recoverable
damages by merely noting the fact that NASL would need to reapply for sanctioning yearly. None of that changes
NASL’s burden to convince the jury that NASL was likely to succeed as a D1 league for at least ten years had it
received that initial sanction.”).
11
   Zenith Radio Corp. v. Hazeltine Research, 395 U.S. 100, 124 (1969) (quoting Bigelow, 327 U.S. at 264-65); State
of N.Y. v. Hendrickson Bros., 840 F.2d 1065, 1077-78 (2d. Cir. 1998) (same; rejecting defendants’ arguments that the
jury’s damages verdict should be vacated as “arbitrary and speculative,” because otherwise this “would permit
defendants to profit by their wrongdoing at the expense of the person injured”).

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   •   Defendants argue that Dr. Williams should not have included past expansion fees
       supposedly obtained by “fraud” in projecting NASL’s future expansion fees. Williams,
       Trial Tr. 2421:16-2422:2. But what Defendants are referring to is the fact that two NASL
       team owners sought to escape paying withdrawal fees by making baseless accusations of
       “fraud” against NASL (Sehgal, Trial Tr. 491:6-492:12), and NASL is entitled to present
       its factual position on this issue for jury resolution. It is not an expert issue for resolution
       via Daubert. Further, as Dr. Williams explained, he already took account of any impact of
       this issue on NASL’s damages through the rate of team entry that he used included the time
       period after these events. Williams, Trial Tr. 2423:8-22.

       The one new damages argument by Defendants that potentially raises more than disputed

fact issues is the argument raised for the first time at trial yesterday about whether NASL’s Puerto

Rico team counted for purposes of calculating NASL’s entry fee obligation to Team Holdings,

which only relates to NASL’s D1 damages claim. Williams, Trial Tr. 2496:17-25. This issue has

nothing to do with Dr. Williams’ D2 damages methodology and cannot be used to seek a Rule 50

order or Daubert exclusion with respect to D2 damages.

       Further, this new argument is not a proper basis for rejecting NASL’s D1 damages because

it is based on a document with no supporting witness to explain it and no evidence about how it fit

into the dispute with Traffic over the meaning of the NASL LLC Agreement. Defendants chastise

Dr. Williams for not being aware of this document, but it did not even become relevant to the

Williams D1 damages analysis until at trial last week when Defendants first revealed their

argument about the definitions section of the 2013 LLC Agreement. Under both parties’ prior

interpretations of the LLC Agreement, the question of whether Puerto Rico counted for purposes

of determining the amount of entry fees that NASL would have to pay Team Holdings was

insignificant. Under NASL’s interpretation, the ten-team count began at the date of NASL’s

December 2009 LLC Agreement, and it was undisputed that NASL had well over ten teams join

between December 2009 and the start of the D1 damages period in March 2016. ECF No. 512.

And under Defendants’ interpretation, the ten-team count did not begin until March 2016, after


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Puerto Rico had joined NASL. ECF No. 510 at 1-2.

         Then, at trial, last week, Defendants argued that NASL’s July 2013 LLC Agreement reset

the ten-team count to zero. ECF No. 510. Following a discussion of this issue in Court on January

22nd, Dr. Williams was directed to submit a report approximately 45 hours later adjusting his

damages figures to address this issue. Williams, Trial Tr. 1525:3-7. During that 45-hour period,

neither Dr. Williams nor NASL became aware of any issue involving the Puerto Rico team not

counting for purposes of the ten-team count, and thus Dr. Williams included that team in his ten-

team count. Williams, Trial Tr. 2451:25-2452:4; 2522:4-2525:12. Given the lack of any witness

to explain the new document about the Puerto Rico team, NASL respectfully submits that this new

evidence should be left to the jury to evaluate. 12

         In any event, there is no basis to exclude NASL’s evidence of D2 damages. Defendants

have baselessly attempted to tie this issue involving Puerto Rico to Dr. Williams’ D2 damages

estimates, to which it is irrelevant. As testified at trial, all of NASL’s entry fee obligations to Team

Holdings were settled and extinguished in November 2016, long before the D2 but-for damages

period began. Williams, Trial Tr. 2310:18-2311:1; Sehgal, Trial Tr. 471:12-16. As a result, it is

irrelevant whether Puerto Rico would have counted toward the first ten teams under that former

arrangement.13


12
   October 28, 2024 Order, ECF No. 451 (“Dr. Williams has attempted to ‘discount his estimates to reflect the real-
world conditions that existed at the time of the challenged conduct,’ including by making an assumption about what
the agreement continued to require at that time. Defendants are free to attack that assumption. But ultimately, as Chief
Judge Brodie has explained, ‘[d]isputes of fact do not as a matter of law render an expert’s opinion unreliable. Were
it otherwise, no expert would ever be able to testify in any case not decided as a matter of law.’”) (citing In re Payment
Card Interchange Fee & Merch. Disc. Antitrust Litig., 2022 WL 14863110, at *16 (E.D.N.Y. Oct. 26, 2022)).
13
   Defendants also argue that Dr. Williams should not have included Puerto Rico’s $3 million entry fee in his
calculation of NASL’s damages, because NASL ultimately agreed to permit Puerto Rico to instead pay off that debt
with in-kind services. (Williams, Trial Tr. 2471:19-2472:7.) But that argument is nothing more than another fact issue
for the jury, not a basis for excluding Dr. Williams’ opinions under Daubert. Dr. Williams explained why it was
relevant to include the $ 3 million price for the team in his analysis even though the price was paid through the
promotional services of Carmelo Anthony, an NBA legend with enormous marketing value for the league. (Williams,
Trial Tr. 2471:1-2472:7.)

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 29, 2025, Plaintiff North American Soccer League, LLC’s

Opposition to Defendants’ Joint Rule 50(a) Motion was served upon all counsel of record by

operation of the Court’s ECF system.

       Executed on January 29, 2025

                                                   s/ Jeffrey L. Kessler
                                                   Jeffrey L. Kessler




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